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 7
 8                          UNITED STATES DISTRICT COURT
 9                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11   MARCUS VADGHN; SJ., a minor, by CASE No.: CV 16-03086 AB (AJWx)
     and through her guardian ad litem Tiassa Han. Judge: Andre Birotte, Orm 7B, 7th Fl. th
12                                            Mag. Judge: Andrew J. Wistrich, Ctrm 690, 6 Fl
     Powell; and D.J.A., a minor, by and
13   through ~is guardian .ad ~it.em Tiassa   DEFENDANTS' WITNESS LIST
     Powell, m each case mdividually and as a
14
     successor in interested to Redel Jones,
15   deceased; and HAROLD HORNE,
                                              TRIAL:          November 7,2017
16   individually,
                                              TIME:           8:30 a.m.
17                                            CTRM.:          7B, 7th Floor
                   Plaintiffs,
18          vs.
19   CITY OF LOS ANGELES; BRETT
20   RAMIREZ; and DOES 1-10, inclusive,
21
                  Defendants.
22
23
24         Pursuant to Local Rule 16-5, Defendants respectfully submit the following list

25   of witnesses who may be called at trial:
26   III
27   III
28   III

                                                  1
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 1                               DEFENDANTS' WITNESS LIST
 2
           Defendants reserve the right to call any of the witnesses identified on Plaintiffs'
 3
     witness list. For the Court's ease of reference and to assist in the calculation of time
 4
     needed for trial, Defendants have only included those additional witnesses thai
 5
     Defendants intend to call at trial.   Defendants also reserve their right to call any
 6
     additional witnesses as necessary for impeachment or rebuttal purposes as allowed by
 7
     the Local Rules of Court.
 8
 9   Witness Name             Direct                Description of      1     UnIqueness  of
                              Party                  Testimony                 Testimony
10                            Callin
                               '" _ ~2
11    1.   Luis Quijada      Dei",               Percipient witness         Saw Jones holding
                             20                  to use of force            a knife while
12
                             mms.                                           running, heard
13                                                                          officers give
14                                                                          commands and
                                                                            Jones fail to
15                                                                          comply
16   2.    Brett Ramirez     Def;                Defendant                  Facts and
                             45                  involved in use of         circumstances
17                           mms.                force                      relating to use of
18                                                                          deadly force
     3.    Alonzo Iniguez    Def·,               Percipient witness         Partner officer to
19
                             45                  to use of force            Defendant
20                           mms.                                           Ramirez, engaged
21                                                                          in foot pursuit of
                                                                            Jones
22   4.    Kenneth           Def;                Percipient witness         Officer who
23         Hughes            30                  to use of force, use       engaged in foot
                             mms.                of force relating to       pursuit of Jones,
24                                               taser                      use oftaser,
25                                                                          witness to use of
                                                                            force
26   5.    Andrew            Def;                Percipient witness         Officer who
27         Carpenter         30                  to use of force            engaged in foot
28                           mms.                                           pursuit of Jones,

                                                2
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 1   Witness Name        , Direct    Cross       Description of      Uniqueness of
 2                         Party                  Testimony           Testimony
                           Calling
 3                                                                 witness to use of
 4                                                                 force
     6.   Nicole Evans    Def',              Percipient witness,   Observations as to
 5                        20 mins            LAPD officer who      events immediately
 6                                           responded to scene    after shooting,
                                                                   rendered medical
 7
                                                                   aid to Jones
 8   7.   Jared Miller    Def',              Percipient witness,   Observations as to
 9                        15 mins            LAPD officer who      events immediately
                                             responded to scene    after shooting,
10                                                                 observed knife,
11                                                                 crowd control
     8.   DaraChoub*      Dei",              Percipient witness,   Observations as to
12
                          20 mins            LAPD officer who      events immediately
13                                           responded to scene    after shooting,
14                                                                 administered aid to
                                                                   Jones, removed
15                                                                 handcuffs and
16                                                                 clothing
     9.   Jackie Fort*    Dei",              Percipient witness,   Observations as to
17                        20 mins            LAPD officer who      events immediately
18                                           responded to scene    after shooting
     10. Jared Rupe*      Dei",              Percipient witness,   Observations as to
19
                          20 mins            LAPD officer who      events immediately
20                                           responded to scene    after shooting,
                                                                   moved police car
21
     11. Dwayne           Def',              Percipient witness,   Observations as to
22       Wilson*          20 mins            LAPD officer who      events immediately
23                                           responded to scene    after shooting,
                                                                   secured scene and
24                                                                 persons after
25                                                                 shooting
     12. Kyle             Dei",              Percipient witness,   Observed scene
26       Hemandez*        20 mins            LAFD firefighter      after shooting,
27                                           who responded to      observed Taser
28                                           scene                 WIres

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                                 -                                                        !
 1   Witness Narne        Direct     Cross       Description of      Uniqueness of
 2                        Party                   Testimony           Testimony
                         Calling
 3
     <-
     13. William Collyer Def·,               Percipient witness,   Observed scene
                                                                                     -
 4                       20 mins             LAFD firefighter      after shooting, saw
                                             who responded to      knife next to Jones'
 5                                           scene                 body
 6   14. Sheri Mason       De£-,             Percipient witness,   Observed Jones'
                           20 mins           Clerk from Stocker    brandishing and
 7
                                             phannacy              handling of knife,
 8                                                                 Jones' description
 9                                                                 and demeanor
     15. Thomas Day,       De£-,             Percipient witness    Saw Jones lunge at
10       Sr.               30                to use of force       officer with knife
11                         mms,
     16. Virginia          De£-,             Percipient witness    Heard officers give
12
         Peerenboom*       15 mins           to use of force       Jones' commands,
13                                                                 heard gun shots
14   17. Ashley Bruce*     De£-,             Percipient witness    Heard officers give
                           15 mins           to use of force       Jones commands,
15                                                                 heard gunshots,
16                                                                 saw events after
                                                                   shooting at scene
17   18. Jack Baham*       De£-,             Percipient witness,   Observations and
18                         15 mins           LAFD firefighter      assisted Jones'
                                             who responded to      medical care and
19
                                             scene                 evaluation at scene
20   19. Shawn Phillips*   Def·,             Percipient wtiness,   Observations as
21                         15 mins           LAFD firefighter      and assisted Jones'
                                             who responded to      medical care and
22                                           scene                 evaluation at scene
23   20. Herbert Reddick Def·,               Percipient witness,   Observations and
                         20 mins             LAFD firefighter      assisted in Jones'
24                                           who responded to      medical care and
25                                           scene                 assessment;
                                                                   determined time of
26
                                                                   death
27   21. Denise Burton*    Def·,             Coroner               Jones' autopsy
28                         15 mins           Investigator who

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     Witness Name
                          -
                          Direct
                                    ----
                                    Cross       Description of     Uniqueness of
 2                        Party                  Testimony          Testimony
                          Calline
 3                                          assisted in Jones'
 4                                          autopsy
     22. Kathleen        Def,               Criminalist          Observations as to
 5       Alvardo         20 mins                                 ballistics at scene
 6                                                               and conducted
                                                                 examination for
 7
                                                                 ballistic impacts,
 8                                                               trajectories and
 9                                                               projectiles
     23. Alan Perez      Def,               Criminalist          Conducted
10                       20 mins                                 examination for
11                                                               ballistic impacts,
                                                                 trajectories and
12
                                                                 proj ectiles,
13                                                               examined Officer
                                                                 Ramirez' weapon
14
                                                                 Observations as to
15                                                               ballistics at scene
16   24. Brian Kim       Def,               Coroner              Conduced
                         30 mins            Investigator         examination of
17                                                               Jones' remains,
18                                                               utilized GSR kit,
                                                                 DNA testing of
19                                                               knife
20   25. Alfred Scott*   Def,               Forensic Attendant   Transport of Jones'
                         10 mins                                 to LACFSC
21
     26. Dr. Keng-Chih   Def,               LA Deputy            Performed post-
22       Su              45 mins            Medical Examiner     mortem
23                                                               examination of
                                                                 Jones
24   27. Donald          Def,               Use of Force         Investigated OIS,
25       Walters*        20 mins            Investigator         witness statements
                                                                 and present at
26
                                                                 autopsy of Jones
27   28. Eduardo         Def',              Use of Force         Present at autopsy
28       Gonzalea*       15 mins            Investigator         of Jones

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 1   .Witness Name         Direct
                                    ---
                                     Cross       Description of      Uniqueness of
 2                         Party                  Testimony           Testimony
                          Calling                                                        I
 3   29. Craig            Def-,              Use of Force          Examination of
 4       Piantanida*      15 mins            investigator          Officer Ramirez'
                                                                   weapon
 5   30. Sue Pearring     Def-,              LA Deputy             Analyzed Jones'
 6                        20 mins            Coroner Senior        blood
                                             Criminalist
 7
     31. Carole Acosta*   Def;               Criminalist           Testing Jones'
 8                        15 mins                                  clothing regarding
 9                                                                 distance
                                                                   determination,
10                                                                 muzzle to target
11   32. Arthur Gerio*    Def-,              Forensic print        Latent ·prints form
                          15 mins            specialist            knife
12
     33. Jessica Moody*   Def-,              Criminalist           Bullet/cartridge
13                        20 mins                                  comparison report
14                                                                 results
     34. Brian Gilman*    Def-,              LAPD officer          Completed scene
15                        15 mins            documenting scene     logs
16   35. Won Lim*         Def-,              Percipient witness,   Witness to Jones
                          20 mins            Pharmacist from       committing
17                                           Stocker pharmacy      robbery
18   36. Claudia          Def-,              Percipient witness,   Conducted
         Benetiz*         15 mins            LAPD officer          investigation
19
                                             responding to         relating to Jones'
20                                           robbery               robbery of Stocker
21                                                                 pharmacy
     37. Robert Fraga*    Def-,              Percipient witness,   Conducted
22                        15 mins            LAPD officer          investigation
23                                           responding to         relating to Jones'
                                             robbery               robbery of Stocker
24
                                                                   pharmacy
25   38. Galo             Dei",              SID technician        Secured video tape
         Rodriguez*       10 mins                                  of Jones robbing
26
                                                                   Stocker pharmacy
27   39. Jesus Flores*    Def',              LAPD Detective        Conducted
28                        15 mins                                  investigation for

                                             6
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                        1Direct                              ---   --
     ---                                                                -
 1    Witness Name                  Cross       Description of     Uniqueness of
 2                        Party                  Testimony          Testimony
                          Calling                                                     ,,
 3                                                              Jones' robbery at
 4                                                              Stocker pharmacy
      40. Kathleen        De£-,             LAPD officer who Secured robbery
 5        Alvarado*       10 mins           secured property    note, money, knife,
 6                                          from Jones after    cartridges and
                                            incident            other items related
 7
                                                                to robbery and
 8                                                              shooting; bullet
 9                                                              path analysis
      41. Brian Hun*      De£-,             LAPD investigator Investigator
10                        15 mins                               working with City
11                                                              Attorney's Office
      42. C. Acosta       De£-,             FSD analyst         Tested firearms
12
                          15 mins                               relating to this
13                                                              matter, distance
14                                                              determination
      43. A. Perez*       Def',             FSD analyst         Test fired Ramirez'
15                        15 mins                               firearm
16    44. N.Do*           Dei",             LAPD officer        Kept track of
                          15 mins           completed RACER incident
17                                          incident            notifications
18                                          notification log
      45. Gerald          Dei",             LAPD                Commanding
19
          Woodyard*       15 mins           commanding          officer of
20                                          officer             Southwest division
21                                                              for this incident
     46. Adam Graley*     Dei",             Percipient witness, Responded to
22                        15 mins           LAPD officer        incident, witnessed
23                                          responding to       individuals and
                                            shooting            cars' positions
24   47. Jared           Dei",              Percipient witness, Responded to
25       Timmons*         15 mins           LAPD officer        incident, witnessed
                                            resp<?nding to      individuals and
26
                                            shooting            cars' positions
27   48. James           De£',              Expert testimony    Provide expert
28       Katapodis       45 mins                                testimony

                                            7
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 1    Witness Name               Direct       Cross        Description of          Uniqueness of
 2                                Party                     Testimony               Testimony
                                 Callin2
 3                                                                               regarding use of
 4                                                                               force
     49. Rocky Edwards           Dei",                 Expert testimony          Provide expert
 5                               30 mins                                         testimony
 6                                                                               regarding bullet
                                                                                 trajectories
 7
      50. Ayako Chan-                                  Percipient witness,       Conducted
 8        Hosokawa*                                    NMS Forensic              toxicology report
 9                                                     Toxicologist

10   *Denotes witnesses that may be called
11
     Defendants reserve their right to call any additional witnesses as necessary for impeachment or
12   rebuttal purposes as allowed by the Local Rules of Court.

13   DATED: September 25,2017
14
                                   Respectfully submitted,
15
                                   MICHAEL N. FEUER, City Attorney
16                                 THOMAS H. PETERS, ChIef Assistant City Attorney
                                   CORY M. BRENTE, Senior Assist. City Attorney
17
                                   By:             /S/ LiMMW. Le£I
18                                       LISA   w. LEE, Deputy CIty Attorney
19                                Attorn~~for Defendants CITY OF LOS ANGELES
                                   and BREtT RAMIREZ
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